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 1                                                                HONORABLE RONALD B. LEIGHTON
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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                        Case No. CR05-5797 RBL
                               Plaintiff,
12                     v.                                 ORDER
13     GLENN R. LUND and MARCY
14     GOODSON,

15                             Defendants.

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17          THIS MATTER comes on before the above-entitled Court upon Defendant Lund’s Motion to Continue

18   Trial Date [Dkt. #36] and Motion to Continue Pre-Trial Motions Cutoff Date [Dkt. #35].

19          Having considered the entirety of the records and file herein, the Court rules as follows:

20          1.       The current trial date is May 8, 2006.

21          2.       Mr. Lund is charged along with co-defendant Marcy Goodson in a two-count indictment with

22   conspiracy to distribute methamphetamine and possession with intent to distribute methamphetamine.

23          3.       The indictment was returned on November 8, 2005. Mr. Lund was arrested on March 21, 2006

24   and was arraigned on that date.

25          4.       Counsel for Mr. Lund received the discovery in this matter on April 5, 2006 and seeks a

26   continuance in order to adequately review the materials and prepare pre-trial motions and to contact potential

27   witnesses.

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 1             5.       Mr. Lund concurs in the requested continuance as evidenced by his signed waiver of speedy
 2   trial rights.
 3             6.       The ends of justice served by the granting of the requested continuance outweigh the better
 4   interests of the public and the defendant in a more speedy trial because to deny the requested continuance
 5   would deny the defendant the reasonable time necessary for effective preparation.                    18 U.S.C. §
 6   3161(h)(8)(A)(iv).
 7             7.       Defendant’s Motion to Continue is GRANTED. The new trial date for Mr. Lund and Ms.
 8   Goodson is July 17, 2006 at 9:00 a.m. A pre-trial motions hearing in lieu of a pre-trial conference will be held
 9   on July 6, 2006 at 9:00 a.m. Additional pre-trial motions, if any, shall be filed on or before May 29, 2006.
10             8.       The time from May 8, 2006 until the new trial date of July 17, 2006 is excluded under 18
11   U.S.C. §§ 3161(h)(7) and 3161(h)(8)(A).
12             IT IS SO ORDERED.
13             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
14   pro se.
15             Dated this 26th day of April, 2006.


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                                               RONALD B. LEIGHTON
18                                             UNITED STATES DISTRICT JUDGE
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     ORDER
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